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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             No. 1:23-cr-40

               vs.                                            Hon. Jane M. Beckering
                                                              United States District Judge
RICK VERNON JOHNSON,

                  Defendant.
_________________________________/

                      GOVERNMENT’S RESPONSE TO DEFENDANT
                     RICK JOHNSON’S SENTENCING MEMORANDUM

       The government submits this response to Defendant Rick Johnson’s sentencing

memorandum to address his arguments opposing a four-level enhancement under Sentencing

Guideline Section 2C1.1(b)(3). See R.91: Johnson Sent. Mem., PageID.852-58.

       I.      Michigan Law and Undisputed Evidence Demonstrate that Johnson
               was a Public Official in a High-Level Decision-Making or Sensitive
               Position.

       Johnson incorrectly asserts that his position as chairperson of the Michigan Medical

Marijuana Licensing Board (“MMLB”) was no different than any of the other members of the

Board. Johnson’s argument overlooks critical aspects of the state law that specifically empowered

the MMLB chairperson with the responsibility to ensure that the Board operated free of conflicts

of interest, bribery, and other attempts to corrupt the licensing process. Those state law provisions

further support this Court’s finding that Johnson was a public official who occupied a high-level

decision-making or sensitive position.

       Section 305 of the Medical Marijuana Facilities Licensing Act of 2016 required members

of the MMLB to immediately provide written notice to the chairperson with details of events that
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might call into question the legitimacy of the Board’s decisions or lead to corruption within the

licensing process. Specifically, the law provided:

       (3) A member, employee, or agent of the board who becomes aware that the
       member, employee, or agent of the board or his or her spouse, parent, or child is a
       member of the board of directors of, financially interested in, or employed by a
       licensee or an applicant shall immediately provide detailed written notice
       thereof to the chairperson.

       ...

       (5) Any member, employee, or agent of the board who is negotiating for, or acquires
       by any means, any interest in any person who is a licensee or an applicant, or any
       person affiliated with such a person, shall immediately provide written notice of
       the details of the interest to the chairperson. The member, employee, or agent of
       the board shall not act on behalf of the board with respect to that person.

       ...

       (10) A member, employee, or agent of the board or a parent, spouse, sibling, spouse
       of a sibling, child, or spouse of a child of a member, employee, or agent of the board
       shall not accept any gift, gratuity, compensation, travel, lodging, or anything of
       value, directly or indirectly, from any licensee or any applicant or affiliate or
       representative of a licensee or applicant, unless the acceptance conforms to a
       written policy or directive that is issued by the chairperson or the board. Any
       member, employee, or agent of the board who is offered or receives any gift,
       gratuity, compensation, travel, lodging, or anything of value, directly or indirectly,
       from any licensee or any applicant or affiliate or representative of an applicant or
       licensee shall immediately provide written notification of the details to the
       chairperson.

       ...

       (12) A member, employee, or agent of the board shall not engage in any conduct
       that constitutes a conflict of interest and shall immediately advise the chairperson
       in writing of the details of any incident or circumstances that would present the
       existence of a conflict of interest with respect to performing board-related work or
       duties.

       (13) A member, employee, or agent of the board who is approached and offered a
       bribe as described in section 118 of the Michigan penal code, 1931 PA 328, MCL
       750.118, or this act shall immediately provide written account of the details of
       the incident to the chairperson and to a law enforcement officer of a law
       enforcement agency having jurisdiction.



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       ...

       (16) A licensee or applicant or any affiliate or representative of an applicant or
       licensee shall not engage in ex parte communications with a member of the board.
       A member of the board shall not engage in any ex parte communications with a
       licensee or an applicant or with any affiliate or representative of an applicant or
       licensee.

       (17) Any board member, licensee, or applicant or affiliate or representative of a
       board member, licensee, or applicant who receives any ex parte communication in
       violation of subsection (16), or who is aware of an attempted communication in
       violation of subsection (16), shall immediately report details of the
       communication or attempted communication in writing to the chairperson.

See 2016 Mich. Legis. Serv. P.A. 281 (West), codified at Mich. Comp. Laws § 333.27305

(2016) (emphasis added).

       The same law empowered Johnson, as chairperson of the MMLB, to confidentially

investigate any ex parte communication with a member of the Board that constituted an

attempt to influence that member’s official action to determine if state law has been

violated:

       (18) Any member of the board who receives an ex parte communication in an
       attempt to influence that member's official action shall disclose the source and
       content of the communication to the chairperson. The chairperson may
       investigate or initiate an investigation of the matter with the assistance of the
       attorney general and state police to determine if the communication violates
       subsection (16) or subsection (17) or other state law. The disclosure under this
       section and the investigation are confidential. Following an investigation, the
       chairperson shall advise the governor or the board, or both, of the results of
       the investigation and may recommend action as the chairperson considers
       appropriate. If the chairperson receives such an ex parte communication, he or she
       shall report the communication to the governor's office for appropriate action.

Id. (emphasis added). If, after investigation, the chairperson determines that a law was violated,

the chairperson may recommend action and a Board member could be removed under Section

301(7). Id. Additionally, violations uncovered by the chairperson’s investigation also could result

in applicants being denied licenses to operate or the revocation or suspension of licenses. Id.



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       Johnson’s assertion that his “role as chairperson is of no consequence” because he held “no

more power or persuasion than any other board member” is plainly inaccurate. State law gave him

the sole power and responsibility on the Board to receive and investigate evidence of conflicts of

interest and bribery, and—with or without the assistance of the state police and attorney general—

the authority to investigate evidence of any ex parte communications attempting to influence a

board member’s official action. He occupied a position that was more sensitive and required him

to exercise greater investigative and discretionary powers than the positions held by the other

Board members. These facts provide further support for the government’s argument that Johnson’s

role and responsibilities are similar to the sensitive positions described in application note 4(B)

(law enforcement officer, election official, and similarly situated individuals).

       Here, the person empowered with ensuring that the Board was free of corruption was the

person who blatantly and repeatedly violated those anti-corruption provisions and failed to disclose

those violations to the other members of the Board or to the Governor. He was put in a position

to police himself and the other Board members, and he took advantage of that position to solicit

and accept bribes. As the old saying goes, Johnson was “the fox guarding the henhouse.”

       The responsibility and special powers invested specifically in Johnson by state law

supports a finding by this Court that Johnson occupied a high-level decision-making or sensitive

position as contemplated by USSG § 2C1.1(b)(3).




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        II.     Johnson’s Legal Authority and Argument is Not Persuasive.

        Johnson cites United States v. McIntosh, 1992 U.S. App. Lexis 34839 (6th Cir. Dec. 29,

1992), an unpublished per curiam decision, in support of his argument that USSG § 2C1.1(b)(3)

should not apply to him. But a later panel of the Sixth Circuit found that McIntosh’s analysis of

the issue was “minimal,” and that “McIntosh’s force or persuasiveness is questionable” because of

intervening substantive changes to that Guideline provision and its facts. United States v. Griffith,

781 F. App’x 418, 421 (6th Cir. 2019).

        The facts of McIntosh are distinguishable from those present in Johnson’s case. That case

involved a defendant named Noe, who was an appointed chief of police in a three-officer

department in a small Kentucky town with a population of 1,000. Noe received $5,000 in payoffs

during an FBI drug trafficking sting operation. Id., 1992 U.S. App. Lexis 34839 at *3. In a

cursory, three-sentence analysis that seemed to focus more on the size of the town that defendant

worked in than the level of authority he had, the Court reversed application of an earlier version1

of the enhancement for being a “high-level decision maker.” The Court held, “Noe is not a high-

level decisionmaker. He is the appointed chief of police of Beattyville, Kentucky, which has a

population of only 1,000 and a police force consisting of three officers. Furthermore, Noe works

a shift just like his two fellow officers and all important decisionmaking [sic] is done by the mayor

and city council of Beattyville.” Id. at *23.

        As noted in Griffith, McIntosh involved an earlier version of § 2C1.1, which included a

more circumscribed commentary interpreting the words “high-level decision-making or sensitive

position.” The commentary in McIntosh provided only these examples:

                “Official holding a high-level decision-making or sensitive position”
                includes for example, prosecuting attorneys, judges, agency administrators,
1
 See USSG § 2C1.1(b)(2)(B) (1991), available at https://www.ussc.gov/sites/default/files/pdf/guidelines-
manual/1991/manual-pdf/Chapter_2_A-C.pdf

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               supervisory law enforcement officers, and other governmental officials with
               similar levels of responsibility.

USSG § 2C1.1(b)(2)(B), comment. (n.1) (1991). The commentary has since been expanded and

now states:

       Definition.—“High-level decision-making or sensitive position” means a position
       characterized by a direct authority to make decisions for, or on behalf of, a
       government department, agency, or other government entity, or by a substantial
       influence over the decision-making process.”

USSG § 2C1.1 comment. (n.4(A)) (2021). Additionally, the list of examples has been expanded

to include “a juror, a law enforcement officer, and election official, or any other similarly situated

individual.” Id., comment. (n.4(B)). The current version of the Guidelines would certainly cover

the defendant in McIntosh because he was a law enforcement officer.

       Just as importantly, the facts in McIntosh are readily distinguishable. Here, all licensing

decisions affecting the multi-billion-dollar marijuana industry in the State of Michigan (population

~10 million) were made by the MMLB, of which Johnson held 1/3 of the voting power and the

sole responsibility to police the Board’s operations as Chair. Unlike in McIntosh, no other board,

commission, or person had any decision-making authority over medical marijuana licenses, nor

did anyone have more power or decision-making authority on the Board than Johnson. Thus, the

rationale in McIntosh for not applying the “high-level decision-making” enhancement is

inapplicable to this case. Furthermore, McIntosh failed to address whether the “sensitive position”

prong of the enhancement could be applied in that case and likewise was silent on the application

note then in effect, which provided the example of “supervisory law enforcement officers” as a

sensitive position. For all those reasons, McIntosh lacks relevance and persuasiveness.




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       III. This Court Can Rely on Proffered Statements of Other Witnesses.

       Johnson next asserts that the probation officer is improperly relying on “statements that are

protect[ed] by the proffer agreements” to opine that Johnson had access to non-public information.

(R.91: Johnson Sent. Mem., PageID.858)

       The government agrees that this Court cannot use the self-incriminating statements that

Johnson made during his proffer interviews against him at sentencing to apply a sentencing

enhancement. However, to the extent he contends that the Court cannot use statements made by

other witnesses in their proffer interviews to calculate Johnson’s guideline range, he is mistaken.

The relevant Guideline provides:

               Where a defendant agrees to cooperate with the government by providing
               information concerning unlawful activities of others, and as part of that
               cooperation agreement the government agrees that self-incriminating
               information provided pursuant to the agreement will not be used against the
               defendant, then such information shall not be used in determining the
               applicable guideline range, except to the extent provided in the agreement.

USSG § 1B1.8 (emphasis added). The written proffer agreement that Johnson entered into with

the government in December 2022 provided, in pertinent part:

               The United States reserves the right to use any proffered statements, and
               any other information derived directly or indirectly from those statements,
               for the purpose of obtaining leads to other evidence. This derivative
               evidence may be used by the United States in any stage of any criminal or
               civil proceeding involving your Client.

(Exhibit A, attached) (emphasis added).

       Those provisions unequivocally allow the government to use Johnson’s proffered self-

incriminating statements and other information derived from those statements to obtain evidence

from other witnesses or sources, and to use that derivative evidence against Johnson at sentencing.

Thus, this Court may rely on evidence proffered by, for example, bribe payers Dalaly and Pierce,

even if information proffered by Johnson allowed the government to find admissible evidence

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from those witnesses or another source. Johnson also cannot prevent this Court from relying on

evidence provided by a third party in a proffer-protected interview simply because Johnson

provided the same or similar information to the government in his proffer, and he cites no case law

in support of such a proposition.

       Moreover, even where a probation officer improperly cites a defendant’s proffer protected

statement as a basis for a guideline calculation, the Sixth Circuit has held that this Court can use

other unprotected evidence to calculate the Guidelines without violating Section 1B1.8. See

United States v. Jackson, 635 F.3d 205, 208 (6th Cir. 2011) (affirming Guidelines scoring based

on FBI agent’s testimony, not defendant’s proffered statements cited by probation officer).

       As demonstrated above and in its sentencing memorandum, the government is not relying

on any of Johnson’s proffered statements as evidence against him at sentencing. Rather, the

government is relying on evidence supplied by Pierce, Dalaly, and another representative of

Company A to show by a preponderance of the evidence that Johnson provided inside information

about MMLB matters to bribe payers and had substantial influence in the decision-making process.

The statements of those witnesses are independent sources of evidence that can be used for

Guideline scoring. Id.

       Specifically, the government relies on the following evidence:

              On December 1, 2017, Mr. Johnson sent messages to Mr. Brown asking
               how he could remove sender information from an email when forwarding
               the email to another person. After Mr. Brown explained a process, Mr.
               Johnson sent a text asking if Mr. Brown got an email and a PDF attachment.
               After Mr. Brown confirmed receipt of the email and attachment, Mr.
               Johnson sent a message, writing, “Get to others. This may not be out until
               Monday. Keep it only inner circle.” That same day, Mr. Brown sent text
               messages to multiple clients referring to an email he sent them and informed
               the recipients not to disclose the attachment because they were not yet
               public. One recipient referred to the email and attachment as being the rules
               while another recipient told Mr. Brown they expected the rules to be
               released the following Tuesday. Mr. Brown told one of his clients to

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          remember they always get this type of information from Mr. Brown first.
          (R.83: Johnson PSR, ¶ 27)

         Mr. Pierce confirmed the payments to Janice Johnson were payments for
          access to Mr. Johnson and non-public information Mr. Johnson possessed
          as chairperson of the MMLB. (Id., ¶ 77)

         Lobbyist and bribe payer Brian Pierce told the FBI that Johnson had the
          ability to influence other members of the MMLB, even if he ultimately did
          not have as much influence over the licensing process that everyone
          believed he would have before he was appointed. (Id., ¶ 78) (emphasis
          added)

         According to bribe payer John Dalaly, Johnson said that he would expedite
          Company A’s application and include it on the next list of applications to
          be reviewed. (Id., ¶ 86)

         According to Dalaly, one purpose of the bribe payments he agreed to pay to
          Johnson was to move Company A’s application forward and get them
          approved by Johnson and the payments were to ensure that Johnson put
          Company A’s application on the top. (Id., ¶ 87)

         Other items discussed included Mr. Johnson providing non-public
          information on municipalities and their intent to opt-in to allow marijuana
          businesses within the municipalities. (Id., ¶ 92)

         During the lunch meetings [with Dalaly and another representative of
          Company A], Mr. Johnson provided Mr. Dalaly with information for
          [Company A, whose] business strategy included contacting groups that
          were not going to get through the prequalification process due to financial
          issues. Mr. Johnson provided Mr. Dalaly with copies of spreadsheets listing
          those companies and their contact information. The spreadsheets also
          included handwritten notations suggesting which companies were best, or
          should be a priority, for [Company A] to pursue. [Company A’s
          representative] said he did not know who made the handwritten notations,
          but he did not believe it was Mr. Dalaly. (Id., ¶ 124)

         [Company A’s representative] was instructed by Mr. Dalaly to use the
          bathroom during the lunches, which is when he believed Mr. Johnson
          provided the spreadsheets to Mr. Dalaly. It was [Company A’s
          representative’s] contention he was instructed to go to the bathroom to give
          him plausible deniability about the spreadsheets, which Mr. Dalaly would
          later provide to [him]. The spreadsheets were inside a Fed-Ex style envelope
          and the companies included on the list were companies that were denied
          following a public vote. The list was provided to Mr. Dalaly prior to the
          MMLB or LARA officially publishing the list of denied applicants.

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               [Company A’s representative] said he knew the lists came from Mr.
               Johnson during the lunch meetings because Mr. Dalaly told him as much.
               (Id., ¶ 125)

              [Company A’s representative] confirmed the spreadsheets received from
               Mr. Johnson were not the same documents published publicly by LARA to
               document the results of MMLB voting. The lists provided by Mr. Johnson
               contained more information, including contact information for the
               companies and handwritten notations. [Company A’s representative and
               Company A] valued the information contained in the spreadsheets because
               they gave [it] an advantage when it came to acquiring other companies.
               Reportedly, [Company A] budgeted $100 million for the acquisition of
               other companies. [Company A’s representative] confirmed [it] pursued the
               acquisition of some of the companies on the lists provided by Mr. Johnson;
               however, none of the attempted acquisitions came to fruition. (Id., ¶ 126)

              [Company A’s representative] recalled a comment made by Mr. Johnson
               during one lunch meeting that took place after [Company A] was
               prequalified and while [it] was in the process of acquiring a business called
               [redacted]. Specifically, he remembered Mr. Johnson saying, “those
               motherfuckers would never have gotten approved” if it were not for his
               efforts. [Company A’s representative] advised [redacted] was the first
               license [Company A] attempted to acquire and the approval or acquisition
               was being held up by LARA. [Company A’s representative] believed Mr.
               Johnson intervened on [its] behalf to get the acquisition and license
               approved. (Id., ¶ 127)

       That evidence demonstrates that Johnson had access to and provided non-public

information concerning the MMLB’s operations and decisions to representatives of Company A

and had substantial influence over the decision-making process.




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                                           Conclusion

       For the foregoing reasons, this Court should apply the four-level enhancement in USSG §

2C1.1(b)(3) and adopt the advisory Guideline range of 57-71 months in federal prison and a

$20,000 to $200,000 fine based on a total offense level 25 and criminal history category I.

                                                     Respectfully submitted,

                                                     MARK A. TOTTEN
                                                     United States Attorney

Dated: September 21, 2023                            /s/ Christopher M. O’Connor
                                                     CHRISTOPHER M. O’CONNOR
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